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                  UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA         )
                                 )
                                 )
v.                               )     Case No. 21-cr-00500
                                 )
MICHAEL L. BROCK                 )
                                 )
               Defendant         )
                                 )



     DEFENDANT’S UNOPPOSED MOTION TO CONTINUNE TRIAL
      IN LIEU OF PROPOSED SCHEDULING ORDER FOR TRIAL




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      Defendant, Michael L. Brock, by and through his counsel of record,

William L. Shipley, Jr., files this Unopposed Motion to Continue Trial in this

matter, currently set to begin June 5, 2023.

      Prior to the Status Conference when the trial date was selected, Defense

Counsel Shipley had recently been appointed in the District of Hawaii to

replace a retiring attorney in the case of United States v. Miske, et. al., 19-cr-

00099, which is set to begin trial on April 16, 2023. Mr. Shipley’s client in that

case been detained in custody since his arrest in July 2020.

      Having only entered that case weeks prior to the status conference here,

Defense Counsel Shipley mistakenly believed the trial estimate in the Mieske

case was 4-6 weeks, and the trial would be over in late May. Only later did co-

counsel in the Mieske case inform Mr. Shipley that the trial estimate is actually

8-10 weeks for just the Government’s case, and that the trial may last as long

as 4 months total.

      Defense Counsel Shipley has discussed this issue with Assistant United

States Attorney Maria Fedor, and she indicated that the Government has no

opposition to resetting the trial for Defendant Brock due to Attorney Shipley’s

inadvertent scheduling error. Both parties are agreeable to excluding time

under the Speedy Trial Act to and through the rescheduled trial date due to the

unavailability of defense counsel for Defendant Brock, and to maintain

continuity of counsel on his behalf.

      Defense Counsel Shipley is already set for trial in the matter of United

States v. Ronald McAbee, 21-cr-0035 (EGS) starting on September 25, 2023.
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As a result, the parties request that this matter be set for trial on October 16,

2023.

        If the Court grants this motion, the parties will file a Proposed

Scheduling Order with the necessary dates as previously instructed by the

Court on or before September 29, 2022.



Dated: September 15, 2022                     Respectfully submitted,

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